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  May 14, 2025
  Via ECF

  The Honorable Harvey Bartle III, U.S.D.J.
  United States District Court for the
    Eastern District of Pennsylvania
  James A. Byrne U.S. Courthouse
  601 Market Street
  Philadelphia, PA 19106

  Re:       Atlas Data Privacy Corp., et al v. DM Group, Inc., et al.
            Civil Action No. 1:24-cv-4075

            Application for an Extension of Time for Consolidated Reply Brief

  Dear Judge Bartle:

  This firm represents defendant DM Group, Inc. in the above-referenced matter along with several
  other defendants who joined in the Defendants’ Consolidated Motion to Dismiss Pursuant to
  Rule 12(b)(6) filed on March 18, 2025. See Atlas Data Privacy Corporation, et c. v. DM Group,
  Inc., et al., 1:24-cv-0475-HB, ECF No. 59. We write to respectfully request a one-week extension
  of time for Defendants to file a consolidated reply brief in further support of the Rule 12(b)(6)
  motion to dismiss. The extension would move the Defendants’ deadline for filing a reply brief
  from May 27, 2025 to June 3, 2025. We have conferred with Plaintiffs’ counsel, and they consent
  to the request for an extension.

  Defendants make this request for a one-week extension of time based on competing deadlines in
  this case and the Third Circuit interlocutory appeal and an intervening three-day holiday, which is
  making coordination more difficult. Specifically, Defendants are working on a joint reply brief in
  the Third Circuit with regard to the interlocutory appeal (which is due on May 30, 2025) and the
  consolidated reply brief in further support of the Rule 12(b)(6) motion to dismiss in this case,
  which is currently due on May 27, 2025. Further, the Memorial Day weekend runs from May 24-
  May 26, 2025.

  For these reasons, Defendants respectfully request an extension until June 3, 2025 to file their
  consolidated reply brief in further support of their Rule 12(b)(6) motion to dismiss.



Troutman Pepper Hamilton Sanders LLP, a Georgia limited liability partnership
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Thank you for the Court’s consideration of this request.

                                             Respectfully submitted,



                                             /s/ Angelo A. Stio, III
                                             Angelo A. Stio, III

cc:    All counsel of records (via ECF)

                                             SO ORDERED:


                                             ________________________________
                                             Honorable Harvey Bartle III, U.S.D.J.
